 Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 1 of 6




EXCERPT                                                  EXHIBIT 18

                      In The Matter Of:
         U.S. Securities and Exchange Commission v.
                Alpine Securities Corporation




                           Erin Green
                          March 14, 2018




         Behmke Reporting and Video Services, Inc.
               160 Spear Street, Suite 300
             San Francisco, California 94105
                    (415) 597-5600




                          Original File 33077Green.txt
                   Min-U-Script® with Word Index
              Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 2 of 6
U.S. Securities and Exchange Commission v.                                                                                 Erin Green
Alpine Securities Corporation                                                                                           March 14, 2018
                                                             Page 1                                                              Page 3
 1                 UNITED STATES DISTRICT COURT                        1   APPEARANCES OF COUNSEL:
 2                 SOUTHERN DISTRICT OF NEW YORK                       2   FOR PLAINTIFF:
 3                                                                     3        U.S. SECURITIES AND EXCHANGE COMMISSION
 4   - - - - - - - - - - - - - -                                       4        BY: TERRY R. MILLER, ATTORNEY AT LAW
 5   UNITED STATES SECURITIES      )                                   5            ZACHARY T. CARLYLE, ATTORNEY AT LAW
 6   AND EXCHANGE COMMISSION,      )                                   6        1961 Stout Street, 17th Floor
 7          Plaintiff,             )    CASE NO.                       7        Denver, Colorado     80294
 8   vs.                           )    17-cv-4179-DLC                 8        Telephone: (303) 844-1000
 9   ALPINE SECURITIES             )                                   9        Email:     millerte@sec.gov
10   CORPORATION,                  )                                  10                   carlylez@sec.gov
11          Defendant.             )                                  11
12   - - - - - - - - - - - - - -                                      12   FOR DEFENDNAT ALPINE SECURITIES:
13                                                                    13        THOMPSON HINE
14                                                                    14        BY: MARANDA E. FRITZ, ATTORNEY AT LAW
15             VIDEOTAPED DEPOSITION OF ERIN GREEN                    15        335 Madison Avenue, 12th Floor
16                   WEDNESDAY, MARCH 14, 2018                        16        New York, New York 10017
17                                                                    17        Telephone: (212) 344-5680
18                                                                    18        Email: maranda.fritz@thompsonhine.com
19                                                                    19
20                     BEHMKE REPORTING AND VIDEO SERVICES, INC.      20        NUMMI & ASSOCIATES PA
21                         BY:   TERI HANSEN CRONENWETT, CRR, RMR     21        BY: RICHARD NUMMI, ATTORNEY AT LAW
22                               UTAH LICENSE NO. 91-109812-7801      22        213 49th Avenue North
23                                     160 SPEAR STREET, SUITE 300    23        St. Petersburg, Florida 33703
24                               SAN FRANCISCO, CALIFORNIA 94105      24        Telephone: (813) 727-3673
25                                                 (415) 597-5600     25        Email:     rnummi@mac.com




                                                             Page 2                                                              Page 4
                                                                       1   APPEARANCES OF COUNSEL - (CONTINUED):
 1
                                                                       2   FOR DEFENDNAT ALPINE SECURITIES AND THE WITNESS:
 2
                                                                       3        CLYDE SNOW & SESSIONS
 3
                                                                       4        BY: BRENT R. BAKER, ATTORNEY AT LAW
 4
                                                                       5            AARON D. LEBENTA, ATTORNEY AT LAW
 5
                                                                       6        One Utah Center, 13th Floor
 6
                                                                       7        201 South Main Street
 7         Videotaped Deposition of ERIN GREEN, taken on
 8   behalf of the PLAINTIFFS, at the offices of Clyde,
                                                                       8        Salt Lake City, Utah 84111

 9   Snow & Sessions, One Utah Center, 201 South Main
                                                                       9        Telephone: (801) 322-2516

10   Street, Suite 1300, Salt Lake City, Utah, 84101,
                                                                      10        Email: brb@clydesnow.com

11   commencing at 9:03 A.M., MARCH 14, 2018, before
                                                                      11                 adl@clydesnow.com

12   Teri Hansen Cronenwett, Certified Realtime Reporter,
                                                                      12
13   Registered Merit Reporter, and Utah CSR License No.              13   ALSO PRESENT:

14   91-109812-7801, pursuant to Notice of Taking                     14        LANCE HARRISON, LEGAL VIDEOGRAPHER

15   Deposition.                                                      15
16                                                                    16
17                                                                    17
18                                                                    18
19                                                                    19
20                                                                    20
21                                                                    21
22                                                                    22
23                                                                    23
24                                                                    24
25                                                                    25



Min-U-Script®                          BEHMKE REPORTING AND VIDEO SERVICES, INC.                                          (1) Pages 1 - 4
                                                     (415) 597-5600
               Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 3 of 6
U.S. Securities and Exchange Commission v.                                                                                   Erin Green
Alpine Securities Corporation                                                                                             March 14, 2018
                                                            Page 5                                                                   Page 7
 1                               INDEX
                                                                      1          WEDNESDAY MARCH 14, 2018; 9:03 A.M.
 2   WEDNESDAY, MARCH 14, 2018
                                                                      2               PROCEEDINGS
 3   ERIN GREEN                                             PAGE
                                                                      3          THE VIDEOGRAPHER: Okay. We're on record.
 4        Examination by MR. CARLYLE                           8
                                                                      4   Here begins DVD No. 1 in the deposition of Erin Green in
 5   P.M. SESSION                                             94
                                                                      5   the matter of Security and Exchange Commission versus
 6        Examination resumed by MR. CARLYLE                  94
                                                                      6   Alpine Securities Corporation, in the United States
 7        Examination by MR. LEBENTA                        144
                                                                      7   District Court, Southern District of New York, Case No.
 8        Further Examination by MR. CARLYLE                146
                                                                      8   17-CV-4179-DLC. Today's date is March 14th. The time
 9                                                                    9   is 9:03 a.m.
10                                -0O0-
                                                                     10          My name is Lance Harrison. I'm the
11                                                                   11   videographer contracted by Behmke Reporting. Today's
12                                                                   12   deposition is being held at the offices at 201 South
13            QUESTIONS WITNESS INSTRUCTED NOT TO ANSWER:            13   Main, Suite 1300. Deposition was noticed by Zachary
14                          PAGE          LINE                       14   Carlyle, from Esquire Security and Exchange Commission.
15                          105           22-23                      15          Counsel, will you please identify yourselves
16                          106           10-11                      16   and the court reporter will swear in the witness.
17                          147           11-14                      17          MR. CARLYLE: Sure, Zachary Carlyle for the
18                                                                   18   Securities and Exchange Commission.
19                                                                   19          MR. MILLER: Terry Miller for the Securities
20                                                                   20   and Exchange Commission.
21                                                                   21          MR. LEBENTA: Aaron Lebenta with Clyde Snow
22                                                                   22   and Sessions for the witness and for the defendant
23                                                                   23   Alpine Securities Corporation.
24                                                                   24          MS. FRITZ: Maranda Fritz for Alpine.
25                                                                   25          MR. NUMMI: Richard Nummi for Alpine.



                                                            Page 6                                                                   Page 8
 1                      CONFIDENTIAL EXHIBITS
                                                                      1                  ERIN GREEN,
 2                           ERIN GREEN
                                                                      2   called as a witness at the instance of the plaintiff,
 3   Number                  Description                    Page
                                                                      3   having been first duly sworn, was examined testified as
 4   Exhibit 32      E-mail, 8-10-12, from Leia Farmer
                                                                      4   follows:
 5                   to Erin Zipprich and others
                                                                      5                  EXAMINATION
 6                   - 2 pages                                71
                                                                      6   BY MR. CARLYLE:
 7
                                                                      7       Q. Good morning, Ms. Green.
 8   Exhibit 33      E-mail, 7-27-12, from Leia Farmer
                                                                      8       A. Good morning.
 9                   to Mandee Jacob and others
                                                                      9       Q. As we just mentioned, my name's Zach Carlyle,
10                   - 3 pages                                81
                                                                     10    and I'm one of the attorneys representing the Securities
11                                                                   11    and Exchange Commission in this matter against Alpine
12   Exhibit 34      E-mail, 6-21-12, from Leia Farmer
                                                                     12    Securities Corporation. Do you understand that you are
13                   to Erin Zipprich, and SAR SOP                   13    under oath today?
14                   - 4 pages                                84     14       A. I do.
15                                                                   15       Q. Okay. And to testify today is the same
16   Exhibit 35      E-mail, 5-23-14, from Erin                      16    exactly as if you were testifying in court?
17                   Zipprich to Chelsea Bond and others             17       A. I do, yeah.
18                   - 26 pages                               94     18       Q. And do you also understand that you are being
19                                                                   19    videotaped today and your testimony is being
20   Exhibit 36      Declaration of Erin Zipprich                    20    transcribed, and that that may be shown at a later time
21                   - 8 pages                                97     21    to the court to a jury?
22                                                                   22       A. Yes.
23                                                                   23       Q. Okay. Have you given a deposition before?
24                                                                   24       A. Yes. Not -- not on the record, I believe.
25                                                                   25    But I did about two years ago, in relation to -- was



Min-U-Script®                            BEHMKE REPORTING AND VIDEO SERVICES, INC.                                          (2) Pages 5 - 8
                                                       (415) 597-5600
              Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 4 of 6
U.S. Securities and Exchange Commission v.                                                                                Erin Green
Alpine Securities Corporation                                                                                          March 14, 2018
                                                          Page 137                                                               Page 139

 1   the SEC?                                                         1     Q. Do you know whether anyone else produced those
 2     A. No.                                                         2   documents to the SEC?
 3          MR. LEBENTA: No, you personally?                          3     A. For -- for which production? What are you
 4     A. Not personally, no.                                         4   referring to?
 5          MR. LEBENTA: Thank you.                                   5     Q. Okay. We went through the -- the first time
 6     Q. (By Mr. Carlyle) Okay. Did you personally                   6   that you copied them. Now I am asking about the second
 7   give them to someone else who you understood would               7   time. Do you know whether the second time you copied
 8   produce them to the SEC?                                         8   the documents those documents were provided to the SEC?
 9     A. Yes. I -- I personally saved them into the                  9     A. Do I know whether they were? No, not
10   location where I was instructed, at what point they             10   personally.
11   would be taken and, you know, passed on.                        11     Q. And just to make sure I understand, in -- in
12     Q. Okay. Who did you understand would -- would                12   your declaration then are you saying that there was a
13   take them and pass them on?                                     13   third time that you copied the documents?
14     A. I -- I don't think I was -- I was ever told.               14     A. Um --
15   I wasn't -- I mean, it was limited to give, you know,           15          MR. LEBENTA: Read your declaration.
16   pull this information and save it into this file.               16     A. Well --
17     Q. Okay. Do you have any personal knowledge of                17          MR. LEBENTA: I guess objection. The document
18   whether the documents that you copied in early 2016 were        18   speaks for itself.
19   produced to the SEC?                                            19     A. We -- we -- we provided the documentation for
20     A. No.                                                        20   the exam in 2016, or 2015, the AML-focused exam. Then
21     Q. Have you -- strike the question. If that was               21   we provided it again, which is referred to here, and
22   even a question.                                                22   then provided it in response to -- to the most recent
23          Paragraph 44, the declaration, you say, "I               23   SEC action.
24   believe that these files have been previously produced          24     Q. (By Mr. Carlyle) Okay. Do you have any
25   to SEC." What's the basis for that statement?                   25   personal knowledge that the documents you copied and



                                                          Page 138                                                               Page 140

 1     A. The fact that I was involved both times in --               1   saved were provided to the SEC at any point in time?
 2   in -- in pulling them, and we received two spreadsheets          2     A. Not personal knowledge.
 3   requesting basically all the same information.                   3     Q. Do you know who John Hurry is?
 4     Q. Okay. When you say you received spreadsheets,               4     A. Yes.
 5   were those additional requests for the same information          5     Q. Beginning with when you started at Alpine,
 6   that you had copied in early 2016?                               6   what was his role at the company?
 7     A. Yes.                                                        7     A. I don't know what it was when I started. Not
 8     Q. And was -- was there something about receiving              8   sure. It was my understanding that he was the owner.
 9   additional requests for the same documents that had to           9     Q. Well, what was your understanding of his role
10   do with your statement in paragraph 44, leading you to          10   at Alpine, and did that understanding change at any
11   believe that they had been previously produced?                 11   time?
12     A. Can you repeat that?                                       12          MR. LEBENTA: Objection, compound.
13     Q. Sure. Let me come at it this way. Is it --                 13          MS. FRITZ: Did he have --
14   in your declaration, are you saying that you -- you             14          MR. LEBENTA: And objection, compound and
15   copied the documents in early 2016, and that Alpine             15   asked and answered.
16   received subsequent requests for those documents on             16     Q. (By Mr. Carlyle) Fair enough. Did Mr. Hurry
17   later dates?                                                    17   have a role at Alpine?
18     A. Yes.                                                       18     A. In what context?
19     Q. Okay. And then you -- you copied the                       19     Q. Maybe let's back up. You -- you said that you
20   documents again?                                                20   are aware of who John Hurry is; is that correct?
21     A. Yes.                                                       21     A. Yes.
22     Q. Okay. And when you copied the documents                    22     Q. Who is John Hurry?
23   again, did you personally provide them to anyone from           23          MR. LEBENTA: Objection to form.
24   the SEC?                                                        24     A. He's the, you know, owner of Alpine. I -- I
25     A. No.                                                        25   don't know what his current title is -- was. I don't



Min-U-Script®                        BEHMKE REPORTING AND VIDEO SERVICES, INC.                                     (35) Pages 137 - 140
                                                   (415) 597-5600
              Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 5 of 6
U.S. Securities and Exchange Commission v.                                                                                Erin Green
Alpine Securities Corporation                                                                                          March 14, 2018
                                                         Page 145                                                             Page 147

 1     A. Because I pulled them or download, saved them,             1   that Sidley Austin produced those documents?
 2   with the understanding that they would be produced to           2      A. No. I helped produce them, save them, and
 3   the SEC by legal counsel.                                       3   then --
 4     Q. Okay. Now, and Alpine maintains these SAR                  4          MR. LEBENTA: I was just, when you help
 5   support files -- or does Alpine maintain these SAR              5   produce them, did --
 6   support files in the regular course of business?                6      A. Or when I -- I produce them. I mean, I
 7     A. Yes.                                                       7   downloaded them and saved them like I -- like I said
 8     Q. So you pulled -- when you pulled the SAR                   8   before.
 9   support files in response to the investigative subpoena,        9      Q. (By Mr. Carlyle) Like you described?
10   did you pull them from files that Alpine maintains?            10      A. Yeah.
11     A. Yes.                                                      11      Q. All right. When you -- during -- during the
12     Q. Thank you. Okay. While you have worked at                 12   preparation of this declaration, and prior to signing
13   Alpine, have you ever -- are you aware of John Hurry           13   it, did you ask Sidley Austin whether they had produced
14   having anything to do with the preparation of a SAR?           14   the documents to the SEC?
15     A. No.                                                       15          MR. LEBENTA: Objection to the extent it calls
16     Q. While you were working at Alpine, are you                 16   for attorney/client privilege or disclosure of
17   aware of John Hurry having anything to do with the             17   attorney/client privilege. I don't know what the
18   filing of a SAR?                                               18   relationship was personally between Alpine and Sidley at
19     A. No.                                                       19   the time, or even currently. So, and I -- I'm just not
20     Q. While you were working at Alpine, are you                 20   competent to let her answer that question because there
21   aware of John Hurry having anything to do at all with a        21   could still be an existing privilege. I don't know the
22   SAR decision?                                                  22   answer to that.
23     A. No.                                                       23      Q. (By Mr. Carlyle) That's right. So I guess
24     Q. Okay. While you were working at Alpine, are               24   without divulging this -- this -- the content of any
25   you aware of John Hurry having anything to do with AML         25   communication with Sidley Austin, was there -- did any



                                                         Page 146                                                             Page 148

 1   at all?                                                         1   communication occur related to whether they produced
 2     A. No.                                                        2   documents to the SEC?
 3          MR. LEBENTA: I think I have no further                   3         MS. FRITZ: Between them and the witness?
 4   questions.                                                      4         MR. CARLYLE: Yes.
 5          MR. CARLYLE: Again, just a couple of                     5         MS. FRITZ: Okay.
 6   questions.                                                      6     A. In preparation of the declaration?
 7              FURTHER EXAMINATION                                  7     Q. (By Mr. Carlyle) Yeah.
 8   BY MR. CARLYLE:                                                 8     A. No.
 9     Q. I believe that you answered -- answered in                 9         MR. CARLYLE: All right. I have no further
10   response to a question from counsel that it was your           10   questions.
11   understanding that the documents you pulled would be           11         MR. LEBENTA: Nor do we. We're good. Done.
12   produced to the SEC; is that correct?                          12         MS. FRITZ: For the record that --
13     A. Yes.                                                      13         THE REPORTER: Do you want her to read and
14     Q. And was it your understanding that legal                  14   sign?
15   counsel would produce those documents?                         15         MR. LEBENTA: Yes.
16     A. Yes.                                                      16         THE VIDEOGRAPHER: This concludes the
17     Q. Which legal counsel?                                      17   deposition. The time is 3:35.
18     A. For the -- this investigative 2016, Sidley                18         (At 3:35 p.m. the deposition concluded.)
19   Austin.                                                        19
20     Q. Okay. Did -- did you ever receive any                     20
21   information indicating that Sidley Austin produced those       21
22   documents to the SEC?                                          22          _______________________________
23     A. Not personally.                                           23               ERIN GREEN
24     Q. You said "not personally." Is there any --                24
25   any way otherwise that you received information showing        25



Min-U-Script®                       BEHMKE REPORTING AND VIDEO SERVICES, INC.                                      (37) Pages 145 - 148
                                                  (415) 597-5600
              Case 1:17-cv-04179-DLC Document 148-18 Filed 07/13/18 Page 6 of 6
U.S. Securities and Exchange Commission v.                                           Erin Green
Alpine Securities Corporation                                                     March 14, 2018
                                                           Page 149

 1   STATE OF UTAH                 )
 2   COUNTY OF SALT LAKE                )
 3       I hereby certify that the witness in the foregoing
 4   deposition, ERIN GREEN, was by me duly sworn to testify
 5   to the truth, the whole truth, and nothing but the
 6   truth, in the within-entitled cause; that said
 7   deposition was taken at the time and place herein named;
 8   and that the deposition is a true record of the
 9   witness's testimony as reported by me, a duly certified
10   shorthand reporter and a disinterested person, and was
11   thereafter transcribed into typewriting by computer.
12          I further certify that I am not interested in
13   the outcome of the said action, nor connected with nor
14   related to any of the parties in said action, nor to
15   their respective counsel.
16          IN WITNESS WHEREOF, I have hereunto set my
17   hand this 19th day of March, 2018.
18   Reading and Signing was:
19   _X__ requested ___ waived ___ not requested
20
21
22
23              Teri Hansen Cronenwett, CRR, RMR
24              LICENSE NO. 91-109812-7801
25




Min-U-Script®                        BEHMKE REPORTING AND VIDEO SERVICES, INC.     (38) Page 149
                                                   (415) 597-5600
